        Case 17-64941-sms          Doc 58 Filed 02/15/21 Entered 02/15/21 15:42:32                     Desc
                                  Signature Filing Deficiency Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                         Northern District of Georgia
                                               Atlanta Division
                                        1340 United States Courthouse
                                           75 Ted Turner Drive SW
                                              Atlanta, GA 30303
                                           www.ganb.uscourts.gov
In
Re:    Roger Carroll Burgess                               Case No.: 17−64941−sms
                                                           Chapter: 7
                                                           Judge: Sage M. Sigler

                         ORDER SETTING DEADLINE TO CORRECT FILING
                       DEFICIENCY PURSUANT TO GENERAL ORDER 40−2020
Pursuant to General Order 40−2020, which provides filing options for debtors not represented by an attorney ("Pro Se
Debtors"), the debtor submitted document(s) on 1/29/21. General Order 40−2020 requires Pro Se Debtors to mail certain
original signed documents submitted by email or fillable form to the Court within fourteen (14) days of submission.

To be Filed by 03/01/21
Original Declaration About Debtor's Schedules (Form 106) filed by Roger Carroll Burgess



If, by the date set forth above, the debtor fails to file the required papers or correct the deficiencies, the Court
may strike the pleading or dismiss this case without further notice or hearing.

The Clerk will serve this order on the debtor and the Trustee.

SO ORDERED, on February 15, 2021.




Form 436BK August 2020                                         Sage M. Sigler
                                                               United States Bankruptcy Judge
